Case 6:18-cv-01694-CEM-TBS Document 16 Filed 03/11/19 Page 1 of 2 PageID 42



                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


FRANK P. PELLEGRINO,

                          Plaintiff,

v.                                                          Case No: 6:18-cv-1694-Orl-41TBS

COMENITY LLC,

                          Defendant.
                                            /

                                            ORDER

       THIS CAUSE is before the Court upon sua sponte review of the file. On October 12, 2018,

this Court entered a Related Case Order and Notice of Designation (Doc. 3). This Order states that

the parties shall conduct a case management conference no later than forty-five days after service

or appearance of any defendant and file a case management report within seven days of the meeting

regardless of the pendency of any undecided motion. The parties failed to comply.

       It is ORDERED and ADJUDGED that the parties SHOW CAUSE by written response

on or before March 18, 2019, as to why this case should not be dismissed for a failure to comply.

Failure to comply with this Order may result in the imposition of sanctions, including dismissal,

without further notice.

       DONE and ORDERED in Orlando, Florida, on March 11, 2019.




                                           Page 1 of 2
Case 6:18-cv-01694-CEM-TBS Document 16 Filed 03/11/19 Page 2 of 2 PageID 43



Copies furnished to:

Counsel of Record




                                 Page 2 of 2
